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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

In re:                                                         Case No. 6:15−bk−08767−KSJ
                                                               Chapter 13
Pablo A. Scabuzzo,

       Debtor.
___________________________/

                    MOTION TO ACCEPT PROPOSED MORTGAGE
                  MODIFICATION OF NATIONSTAR MORTGAGE, LLC

         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider this motion, objection, or other matter
without further notice or hearing unless a party in interest files a response within twenty-one (21)
days from the date set forth on the proof of service attached to this paper plus an additional three
days for service. If you object to the relief requested in this paper, you must file your response
with the Clerk of the Court at United States Bankruptcy Court, George C. Young Courthouse,
400 W. Washington St., Suite 5100, Orlando, FL 32801; serve a copy on the movant’s attorney,
Alejandro Rivera, Esq., 1400 W. Oak Street, Ste. F, Kissimmee, FL 34741, and any other
appropriate persons within the time allowed.

If you file and serve a response within the time permitted, the Court may schedule and notify you
of a hearing, or the Court may consider the response and may grant or deny the relief requested
without a hearing. If you do not file a response within the time permitted, the Court will consider
that you do not oppose the relief requested in the paper, will proceed to consider the paper
without further notice or hearing, and may grant the relief requested.


         COMES NOW Debtor, Pablo A. Scabuzzo, by and through their undersigned counsel,
file this Motion to accept the proposed mortgage modification by NATIONSTAR MORTGAGE,
LLC (“Nationstar”) and :
         1.     Nationstar holds the mortgage on Debtors’ primary residence.
         2.     The temporary loan modification proposed three monthly payments of $746.79.
Thereafter, Debtors could be eligible for a permanent loan modification.
         3.     The Debtor feels this modification to be in his best interest.
         4.     Debtors Chapter 13 Plan will need to be amended for the temporary payments.
         WHEREFORE, the Debtor requests that he be allowed to accept this mortgage
modification.
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                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the above and foregoing has been provided

via electronic transmission (ECF) on this 24th day of May, 2016 to: Trustee, United States

Trustee - ORL7/13; Alice A Blanco on behalf of Creditor NATIONSTAR MORTGAGE, LLC

ecfflmb@aldridgepite.com,ablanco@ecf.inforuptcy.com;ablanco@aldridgepite.com; Melbalynn

Fisher on behalf of Creditor THE BANK OF NEW YORK MELLON TRUST COMPANY

mfisher@rasflaw.com, BKY_ECF1@rasflaw.com;bkyecf@rasflaw.com.

                                                   Respectfully submitted,

05/24/2016___                                      /s/Alejandro Rivera________
Date                                               Alejandro Rivera, Esq.
                                                   FBN 90038
                                                   ALEJANDRO RIVERA, P.A.
                                                   1400 W. Oak St., Ste. F
                                                   Kissimmee, FL 34741
                                                   407-518-7160
                                                   Fax: 407 518-7678
